     Case 1-18-01141-ess          Doc 76   Filed 03/30/21    Entered 03/31/21 07:52:00




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
——————————————————x
In re:
SEAN M. MURRAY                                              Case No. 17-44157
                                                            Chapter: 7
            Debtor Pro Se
——————————————————x

SEAN M. MURRAY
                             Plaintiff                      Adv. Pro. No. 18-01141

                      -against-

SPECIALIZED LOAN SERVICING, LLC
NATIONSTAR MORTGAGE LLC D/B/A MR COOPER,
as SERVICING AGENTS FOR FEDERAL
HOME LOAN MORTGAGE
CORPORATION,
JOHN AND JANE DOE CORPORATIONS
AND ENTITIES
                      Defendants
——————————————————x

     PLAINTIFFS’ REPLY TO NATIONSTAR MORTGAGE LLC’S RESPONSE TO
 PLAINTIFF’S MOTION FOR LEAVE TO APPEAL OR AMENDED COMPLAINT (Dkt
75) AND REPLY OF FAY SERVICING, LLC IN RESPONSE TO PLAINTIFF’S MOTION
                  FOR LEAVE TO AMEND OR APPEAL (Dkt 74)

                           I. INTRODUCTION AND SUMMARY

1. Defendants Nationstar Mortgage LLC, d/b/a Mr. Cooper (“NSM”) and the party responding

on behalf of Specialized Loan Servicing, LLC (“SLS”) identified as Fay Servicing, LLC as

servicer for US Bank Trust National Association, Not In Its Individual Capacity But Solely As

Owner Trustee For VRMTG Asset Trust (“Fay”), successor servicer to Specialized Loan

Servicing, LLC (“SLS”, Fay and SLS collectively referred to as “Defendant”), by and through its

attorneys, LOGS Legal Group LLP f/k/a Shapiro, DiCaro & Barak, LLC, oppose Plaintiff’s


                                           Page 1 of 7
      Case 1-18-01141-ess         Doc 76     Filed 03/30/21     Entered 03/31/21 07:52:00




Motion For Leave To Amend Or Appeal From Order Granting Defendant Specialized Loan

Servicing, LLC’S Motion For Summary Judgement At DKTs 50 & 51 (dkt 53).

2. Plaintiff’s motion should be granted, first because Plaintiff will be significantly prejudiced if

the motion is denied because Attorney Griswold’s conflict of interest in representing two parties

with differing or potentially adverse interests will result in increased costs and expanded

litigation, will make separate confidential settlement with the parties impossible, is a violation of

Rule 1.7 of the New York Rules of Professional Conduct and grounds for his removal or

disqualification from the proceedings.

3. Second, Plaintiff will be prejudiced because of the fact that unilateral substitution of Fay for

SLS, without complying with Federal Rules of Bankruptcy Rule 7025, which provisions

application of Federal Rules of Civil Procedure regarding Rule 25(c) motion for substitution, will

result in releasing SLS from personal liability for allegations not covered under the scope of

Plaintiff’s settlement agreement with Gross Polowy LLC and SLS. Claims subject to appeal as

not liberally construed with respect to Plaintiff’s pro se status, that were contemplated by the

Plaintiff in the original adversary complaint under prayers for both declarative and incorporated

relief regarding identity theft and fraud with respect to the subject change of address in lieu of

response to the New York State Attorney General’s Office of Consumer Fraud, the Loan Officer

license applied for in the Arkansas Securities Department with the fraudulent address and

Plaintiff’s name and social security number, and the use of the fraudulent address in disputed IRS

reporting involving Plaintiff’s social security number.

4. Third, Plaintiff will be prejudiced by being forced to assume the inconvenience and expense




                                             Page 2 of 7
      Case 1-18-01141-ess          Doc 76     Filed 03/30/21       Entered 03/31/21 07:52:00




of parallel proceedings in state and federal court involving common questions of law and fact.

Plaintiff claims Defendants personally and jointly caused Plaintiff’s damages. Considerations of

cost, judicial efficiency, and possible inconsistent results militate in favor of not requiring

Plaintiff to prosecute two separate claims in two separate forums when both claims arise from the

same set of facts.

5. Fourth, Plaintiff will be prejudiced by the risk of inconsistent verdicts as Defendants

claim conflicting roles and capacities in an effort to evade liability. In a series of separate trials,

each defendant can defend itself by blaming the absent party. In other words, Fay may assert that

the servicing and full payoff was mishandled by SLS and NSM, and SLS may claim that NSM

did not inform them of the payoff. Put another way, failure to amend the complaint could “permit

each defendant in separate trials to defend itself by putting a proverbial ‘empty chair’ on trial,

thus posing a significant risk of inconsistent verdicts that would all go against plaintiff.” Lyons,

2004 U.S. Dist. LEXIS 20255 *17, n. 3; see also In re Prempro Prods. Liab. Litig., 2007 U.S.

Dist. LEXIS 20214 (E.D. Ark. 2007) (“These Defendants probably should not be separated

because, when the time for apportioning fault comes, the drug manufacturers and the physicians

may well blame each other.”); B.D. v. DeBuono, 193 F.R.D. 117, 126 (S.D.N.Y. 2000); Kirk v.

Metro. Transp. Auth., 2001 U.S. Dist. LEXIS 85 (S.D.N.Y. Jan. 3, 2001) (courts generally

abstain from severing claims where separate trials risk inconsistent jury verdicts).

6. Fifth, Defendants will not be prejudiced by granting the motion for leave to amend. Taking

the REPLY OF FAY SERVICING, LLC IN RESPONSE TO PLAINTIFF’S MOTION FOR

LEAVE TO AMEND OR APPEAL as opposition from SLS, paragraph 35: “In the instant case,

Defendant would contend that “undue delay”, “bad faith” and “dilatory motive” are all clearly


                                               Page 3 of 7
      Case 1-18-01141-ess         Doc 76     Filed 03/30/21     Entered 03/31/21 07:52:00




present. Even had the Summary Judgment Order not been granted, the Defendant would oppose

the Debtor’s request to amend the Complaint.” Defendants make no effort or showing to support

their contentions regarding undue delay or prejudice, bad faith, dilatory motive or prior

opportunity to amend. Here Defendants and their Attorneys have: settled violations of the Loss

Mitigation rules, stay violations and other allegations; violated dual-tracking prohibitions;

defamed the character of the Plaintiff and Debtor Pro Se; violated Code of Conduct in court

imposed conferencing verbal attacks; refused to address unresponsiveness to New York State

Department of Financial Services and Attorney General Consumer Fraud complaints regarding

identity theft, fraud and abusive tax shelter trusts; provided clearly conflicting and contradictory

statements and duplicative documentation; refused to follow basic service of process on

Plaintiff’s legal address of record; all while hiding behind “typos” more numerous than the

mortgage servicers and attorneys that have mysteriously or otherwise dropped out of the

proceedings.

7. Sixth, all parties agree that the Defendants received a full payoff prior to commencement of

the underlying Bankruptcy Proceeding, with only the date of receipt of tender and legal

implications unresolved. This claim is subject to the District Court’s grant of appeal from the

Order and Decision at Dockets 50 & 51.

8. Seventh, Fay Servicing LLC’s standing is not of record with respect to Judge Stong’s

February 9, 2021 Order that Opposition to the motion for leave to amend be filed by 3/2/2021 by

SLS and NSM specifically.

9. Eighth, Plaintiff seeks leave to amend to assert claims arising out of the same conduct and




                                             Page 4 of 7
      Case 1-18-01141-ess          Doc 76     Filed 03/30/21       Entered 03/31/21 07:52:00




occurrences set out in the original adversary complaint seeking declaratory judgement, to

articulate fraud and add parties participating in the actual theft of Plaintiff’s identity. These issues

were characterized in Judge Stong’s Order and Decision at docket 53 as “New Assertions” that

were only raised in opposition to SLS’s Motion for Summary Judgement, despite Plaintiff’s

position said same claims are incorporated by reference in consolidated motions from the

underlying bankruptcy proceeding into the original adversary complaint. This was made clear in

paragraph 23 of Plaintiff’s motion at docket 53.

10. Plaintiff seeks to demonstrate unresponsiveness on the part of the Defendants to New York

State Attorney General’s Office of Consumer Fraud and New York State Department of Financial

Services complaints regarding the identity theft and full payoff, contributing to Plaintiff’s claims

that the Defendants breached the underlying mortgage contract in failing and refusing to respond

as statutorily required to NOE, RFI and QWR’s, improperly handling accounting and full payoff,

violating the implied duty of good faith and fair dealing, failing and refusing to send a proper

breach (default) letter; slandering Plaintiff’s title to the subject chattel property, failing and

refusing to provide 90-day notice required by RPAPL § 1304 or comply with all applicable law

as a condition precedent to attempting wrongful non-judicial dual-tracking foreclosures.

                               II. ARGUMENT & AUTHORITIES

11. Rule 15(a) of the Federal Rules of Civil Procedure provides that the “court should freely give

leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2).

12. The “liberality in granting leave to amend applies to requests to amend a complaint to add

new parties.” Brown v. Kelly, 244 F.R.D. 222, 227 (S.D.N.Y. 2007), aff’d in part, vacated in part

on other grounds, 609 F.3d 467 (2d Cir. 2010).


                                               Page 5 of 7
      Case 1-18-01141-ess        Doc 76      Filed 03/30/21     Entered 03/31/21 07:52:00




13. In interpreting Rule 15(a), the Second Circuit has explained that “district courts should not

deny leave unless there is a substantial reason to do so, such as excessive delay, prejudice to the

opposing party, or futility.” Friedl v. City of New York, 210 F.3d 79, 87 (2d Cir. 2000); see

alsoBlock v. First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993) (“The rule in this Circuit has

been to allow a party to amend its pleadings in the absence of a showing by the nonmovant of

prejudice or bad faith.”).

14. Because Defendants’ pleadings make no showing of prejudice or bad faith and it will

promote the interests of justice given the lack of undue prejudice to the current defendants of

adding new parties and related allegations, allowing amendment of the complaint is entirely in

keeping with the liberal amendment policies of the Federal Rules of Civil Procedure as

interpreted by the Second Circuit.

                                         CONCLUSION

15. For purposes of a motion to amend, the foregoing readily shows that amending the complaint

would not be obviously futile. The Court must accept plaintiff’s well-pleaded factual allegations

as true, and the allegations of the complaint are plausible on their face. Id. at 541-542. Rule 15(a)

(2) provides that “a court should freely give leave [to amend a complaint] when justice so

requires.”

16. Because justice requires that leave be granted, Plaintiff asks the Court to grant the present

motion for leave to amend the complaint at docket 53, strike the Reply of Fay absent a showing

of standing to intervene and remove counsel for SLS and FAY for conflict of interest and

litigating in bad faith.




                                             Page 6 of 7
Case 1-18-01141-ess   Doc 76   Filed 03/30/21   Entered 03/31/21 07:52:00
Case 1-18-01141-ess   Doc 76   Filed 03/30/21   Entered 03/31/21 07:52:00
